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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

IN RE:                               §
                                     §
BUCCANEER RESOURCES, L.L.C., et al., §             CASE NO. 14-60041 (DRJ)
                                     §                   CHAPTER 11
      Debtors                        §
                                     §
                                     §
CURTIS BURTON                        §
                                     §
      Counter-Defendant,             §
                                     §
VS.                                  §             CIVIL ACTION NO. 15-06006
                                     §
MERIDIAN CAPITAL INTERNATIONAL FUND, §
MERIDIAN CAPITAL CIS FUND,           §
FRED M. TRESCA, RANDY A. BATES, AND §
BRANTA II, L.L.C.                    §
                                     §
      Counter-Plaintiffs

                 NOTICE OF RE-SCHEDULED SCHEDULING CONFERENCE

TO ALL PARTIES-IN-INTEREST:

         Please take note that the scheduling conference in this proceeding that was previously

scheduled for February 25, 2020 and postponed on February 24, 2020 has been re-scheduled for

2 p.m. on Wednesday, March 4, 2020 in Courtroom 400, 4th Floor, U.S. Courthouse, 515 Rusk,

Houston, Texas 77002.




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                                    Respectfully submitted,

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                                    COUNSEL FOR MERIDIAN CAPITAL CIS FUND AND
                                    M ERIDIAN C APITAL I N TERN ATIONAL F UN D ,
                                    COUNTERPLAINTIFFS

                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing pleadings was served by
electronic transmission to the following counsel via email and the Court’s ECF system on the
2nd day of March, 2020:

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                                                  /s/ Tom Kirkendall




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